                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:13-00114-3
                                               )   JUDGE SHARP
CRUZ ALEJANDRO AVENDANO                        )


                                           ORDER

         Pending before the Court is the Government’s Motion to Continue Sentencing Hearing

(Docket No. 97) to which the Defendant does not oppose.

         The motion is GRANTED and the sentencing set for August 25, 2014, is hereby

rescheduled for Friday, September 19, 2014, at 2:00 p.m.

         It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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